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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                                 )
                                                           )
       Plaintiff,                                          )
                                                           ) C.A. NO. 1:18-cv-01803-MN
       v.                                                  )
                                                           )
CONVERSE, INC.,                                            ) JURY TRIAL DEMANDED
                                                           )
       Defendant.                                          )

                           NOTICE OF VOLUNTARY DISMISSAL
                                   WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

 Dated: April 5, 2019                            Respectfully Submitted,

                                                 DEVLIN LAW FIRM LLC

                                                 /s/ Timothy Devlin
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                                             ATTORNEYS FOR PLAINTIFF
                                             SYMBOLOGY INNOVATIONS LLC


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on April 5, 2019, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                     /s/ Timothy Devlin
                                   Timothy Devlin (#4241)
